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February 11, 2019

The Honorable George C. Hanks, Jr.
United States District Court for the
Southern District of Texas
United States Courthouse
601 Rosenberg, Sixth Floor
Galveston, Texas 77550

Re:    MOVE Texas Civic Fund et al. v. Whitley et al.; Case No. 3:19-cv-00041 Statement
regarding notice to Defendants and request for expedited briefing schedule

Dear Judge Hanks:

We write on behalf of the Plaintiffs in the above-titled action. On February 6, 2019, Plaintiffs
filed a Motion for Preliminary Injunction. In conjunction with that Motion, Plaintiffs filed a
Statement, requesting that this Court set a schedule such that a hearing and decision could be
reached on Plaintiffs’ Motion prior to February 27, 2019. On February 8, 2019, this Court
entered an Order setting a hearing date on Plaintiffs’ Motion for February 22, 2019.

On Thursday, February 7, 2019, Plaintiffs sent email copies of the pleadings on file to all
Defendants. Pursuant to the Court’s scheduling order, Plaintiffs notified all Defendants of the
hearing date and the order on Friday, February 8, 2019, by email sent to the Defendant and/or his
or her counsel. Further, Plaintiffs are actively attempting to effectuate service on all parties and
will file proofs of service as they are completed.

In order to allow for full briefing in advance of the February 22, 2019 hearing, Plaintiffs further
request that this Court order Defendants’ responses to Plaintiffs’ Motion to be submitted no later
than Friday, February 15, 2019, with Plaintiffs’ reply due on or before February 21, 2019.
Plaintiffs’ counsel met and conferred with Defendants’ counsels through email and telephone.
Counsel for Defendants’ Whitley and Ingram indicated that they oppose such a briefing
schedule. Counsel for Blanco, Caldwell, Fayette, Washington, Harrison, Hansford, and Smith
counties opposes the proposed briefing schedule. Counsel for Galveston County opposes such a
briefing schedule, stating that it would prefer a response date of February 19, 2019.
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Respectfully,


Andre Segura (Attorney-in-Charge)
Thomas Buser-Clancy
Edgar Saldivar
Brian Klosterboer
American Civil Liberties Union Foundation of Texas


Mimi Marziani**
Rebecca Harrison Stevens
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Texas Civil Rights Project

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Stuart C. Naifeh**
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Dēmos

Jon Greenbaum**
Ezra D. Rosenberg**
Brendan B. Downes**
Lawyers’ Committee for Civil Rights Under Law

Sophia Lin Lakin**
Dale E. Ho**
American Civil Liberties Union

ATTORNEYS FOR PLAINTIFFS

** Pro hac vice application forthcoming
† Admitted in Massachusetts, not D.C.; practice consistent with D.C. App. R. 49(c)(3).
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                                 CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing document was served upon defense

counsel via email and registered mail.

                                                   /s/Andre Segura
                                                   Andre Segura
